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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE:                                         :    Case No: 20-20972-CMB
                                               :
         Michael J. Usselman and               :    Chapter 13
         Bonnie L. Usselman,                   :
                         Debtors,              :
                                               :    Related to Docket No: 76
         MIDFIRST Bank,                        :
                         Movant,               :
                                               :
                 vs.                           :
                                               :
         Michael J. Usselman and               :
         Bonnie L. Usselman,                   :
                         Respondent            :
                                               :
                 and                           :
                                               :
         Ronda J Winnecour, Esquire,           :
                         Chapter 13 Trustee    :
                         Additional Respondent :


         RESPONSE TO MOTION OF MIDFIRST BANK, ITS SUCCESSORS AND/OR ASSIGNS FOR
    RELIEF FROM THE AUTOMATIC STAY UNDER SECTION 362 PURSUANT TO BANKRUPTCY
                                 PROCEDURE 4001

               AND NOW come the Debtors, Michael J Usselman and Bonnie L Usselman, by and
through their attorney, Daniel P. Foster, Esquire, files the within RESPONSE TO MOTION OF
MIDFIRST BANK, ITS SUCCESSORS AND/OR ASSIGNS FOR RELIEF FROM THE AUTOMATIC STAY
UNDER SECTION 362 PURSUANT TO BANKRUPTCY PROCEDURE 4001 and in support of aver as
follow:

    1. Admitted
    2. Admitted
    3. Admitted
    4. Denied. The debtors have made substantial payments to the movant.
    5. Denied. Strict proof is demanded at trial.
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   6. Admitted.
   7. Admitted.
   8. Admitted.
   9. Admitted.
   10. Admitted.
   11. Denied. Debtors counsel is not aware of pre-petition foreclosure proceedings.
   12. Denied. Strict proof is demanded at trial.
   13. Denied. This is the Debtors’ primary residence and required for an effective reorganization.
   14. Denied.



Wherefore, the Debtors respectfully requests that this Honorable Court DENY the MOTION OF
MIDFIRST BANK, ITS SUCCESSORS AND/OR ASSIGNS FOR RELIEF FROM THE AUTOMATIC STAY
UNDER SECTION 362 PURSUANT TO BANKRUPTCY PROCEDURE 4001.


                                                                       Respectfully submitted,

Date: October 16, 2020                                                 /s/ Daniel P. Foster, Esquire
                                                                       Daniel P. Foster
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